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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS Pom

RECTRIX ABRODROME CENTERS, INC., :

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Plaintiff, : Civ. A. No. :
against- 06 NA 1 1? 46 RGS
BARNSTABLE MUNICIPAL AIRPORT : ‘COMPLAINT . ,

COMMISSION, MICHAEL A. DUNNING,
BRUCE P. GILMORE, LARRY F. :
WHEATLEY, QUINCY MOSBY and : JURY TRIAL DEMANDED

FRANCISCO SANCHEZ,
Defendants. : t.
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Plaintiff Rectrix Aerodrome Centers, Inc. (“Rectrix”), for

its complaint against defendants Barnstable Municipal Airport

Commission (the “BMAC”’), Michael A. Dunning (“Dunning”), Bruce
P, Gilmore (“Gilmore”), Larry F. Wheatley (“Wheatley”), Quincy
Mosby (“Mosby”) and Francisco Sanchez (“Sanchez”), alleges:

PRELIMINARY STATEMENT

1. This action arises out of defendants’ illegal scheme
to use their control of the Barnstable Municipal Airport in
Hyannis, Massachusetts (the “Airport”) to prevent Rectrix, an
aviation services company, from competing with the Airport's
monopoly over the sale of jet fuel at the Airport. Defendants

have carried out their illegal scheme, which has severely

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damaged Rectrix, in order to continue their songsounngine TO GOS
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practice -- in violation of federal law -- of diverting revenues
from their Airport monopoly for use by the Town of Barnstable,
Massachusetts (the “Town”) for non-Airport purposes.

2. Rectrix became a victim of defendants’ scheme in
connection with a 2002 lease with the Airport, under which
Rectrix was to build and operate a hangar for private ‘jets (the
“Rectrix Lease”). The Rectrix Lease also provided that Rectrix
was entitled to apply to the BMAC to expand its scope of
operations to become a provider of aviation services (“fixed
base operator” or “FBO”) consistent with the rules and
regulations in effect at the Airport.

3. The actual rules and regulations in effect at the
Airport -- the so-called “Minimum Standards” -- required that
FBOs be permitted to provide fuel service and sell jet fuel at
the Airport. However, such an expansion of Rectrix’s operations
threatened defendants’ ability to maximize the funds diverted
for use by the Town by maintaining the Airport’s monopoly over
the sale of jet fuel. Accordingly, defendants intentionally
concealed the applicable Minimum Standards from Rectrix and
other tenants.

4, After Rectrix ultimately was able, in 2004, to obtain
a copy of the Minimum Standards, it applied to become an FBO, as
it was entitled to do under the Rectrix Lease. In response,

defendants refused to give proper or good faith consideration to
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Rectrix's application and, instead, engaged in a malicious
campaign of intimidation, retaliation and discrimination against
Rectrix and its President, in order, among other things, to
prevent Rectrix from ever selling jet fuel at the Airport.

5. Most recently, for example, the BMAC required that
Rectrix enter into a memorandum of understanding (“MOU”) before
permitting Rectrix to fuel aircraft it owns or manages under
exclusive contract. After Rectrix signed the MOU (under protest
because the requirement was discriminatory), Rectrix entered
into exclusive management contracts with two aircraft companies.
Tmmediately thereafter, the BMAC intentionally reneged on its
MOU commitments, among other things, by nonetheless refusing to
permit Rectrix to fuel aircraft that are subject to those
exclusive management contracts.

6. Rectrix has invested millions of dollars in its
business at the Airport. As a result of defendants’ illegal
scheme, Rectrix thus has been improperly prevented from selling
jet fuel at the Airport and has been otherwise severely hampered
and delayed in exercising its rights at the Airport. Defendants
have pursued their illegal scheme even though the expansion of
Rectrix’s activities at the Airport and its investment in and
development of those activities will create local jobs and

improve the local economy.
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7. Moreover, defendants’ diversion of the Airport’s
revenues to the Town -- for which the Airport’s monopoly on the
sale of jet fuel provided a significant source -- violated

undertakings the BMAC made to the federal government to secure
over $12,000,000 in federal grants for various Airport
improvements. The BMAC was required to represent, and did
represent, te the federal government that it would use all
revenues generated from the Airport for airport purposes only,
that it would permit aircraft owners to fuel their own aircrait
and that it would not grant exclusive rights to any person to
conduct aeronautical services at the Airport, including the
right to sell aviation fuel products.

8. Defendants thus have, among other things, engaged in a
pattern of racketeering activity in violation of the Racketeer
Influenced and Corrupt Organizations Act (“RICO”), unlawfully
maintained the BMAC’s monopoly over the sale of jet fuel in
violation of the Sherman Act, violated Rectrix’s constitutional
rights, breached agreements with Rectrix and interfered with
Rectrix’s agreements with third parties. Accordingly, Rectrix
brings this action to seek specific performance of its right to
dispense jet fuel to aircraft it manages under its agreement
with the Airport, to enjoin defendants from harassing Rectrix by

attempting to evict it and to recover compensatory damages, as
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well as punitive and treble damages, for defendants’ egregious
misconduct.
PARTIES

9. Plaintiff Rectrix is a Massachusetts corporation, with
its principal place of business at 730 Barnstable Road, Hyannis,
Massachusetts 02601. Rectrix is engaged in providing hangar
space, pilot lounges and vaiet services to private jets that it
owns, operates, leases or manages. Rectrix and Rectrix
Aviation, Inc. (“RAI”) are subsidiaries of Rectrix Aviation
Services, Inc. RAI initiated the Rectrix project at the
Airport, entered into the Rectrix Lease and later assigned the
lease to Rectrix.

1G. Defendant BMAC is a Massachusetts municipal
corporation authorized by statute to operate the Airport, with
its principal place of business at the Airport.

Ji. Defendant Dunning is an individual residing at 399 Old
Jail Lane, Barnstable, Massachusetts 02630. Dunning is and has
been a member of the BMAC since in or about 2000, served as its
chairman since in or about 2001 until in or about June 2005, and
is the chairman of the Real Estate Sub-Committee and a member of
the Planning and Development Sub-Committee of the BMAC. Dunning
also is a member of the law firm of Dunning & Kirrane, L.L.P.,

whose offices are in Mashpee, Massachusetts.
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12. Defendant Gilmore is an individual residing at 214
Park Avenue, Centerville, Massachusetts 02632 and has been and
continues to be counsel to the BMAC.

13. Defendant Mosby is an individual residing at i1i6
Foxglove Road, Centerville, Massachusetts 02632 and, since in or
about 2001, has been and continues to be Manager of the Airport.

14, Defendant Sanchez is an individual residing at 41
Cypress Street, Buzzard’s Bay, Massachusetts 02532 and, since
1994, has been and continues to be the Airport Assistant
Manager.

15. Defendant Wheatley is an individual residing at 608
Old Post Road, Cotuit, Massachusetts 02635 and, since at least
2002, has been and continues to be a commissioner of the BMAC
and is Chairman of the BMAC’s Finance Sub-Committee.

JURISDICTION AND VENUE

16. This Court has jurisdiction over the subject matter of
this case pursuant to 18 U.S.C. § 1964 (cc), 28 U.S.C, §§ 1331,
1337, 15 U.S.C. §$§ 2, 15, and 26 and the principles of
supplemental jurisdiction set forth in 28 U.S.C. § 1367.

17. Venue is proper in this District pursuant to 15 U.S.C.
$§ 22, 26, 18 U.S.C. § 1965 and 28 U.S.C. § 1391 {(b), in that
plaintiff does business in this District and defendants are
located in this District, the conduct alleged herein occurred in

this District, all the defendants transact their affairs or have
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an agent or agents transact their affairs in this District, and
the ends of justice require that other parties residing in other
Districts be brought before this Court.

FACTUAL BACKGROUND

A. The Airport, The BMAC And The Minimum Standards

18. The Airport is owned by and provides air
transportation services for the Town, which includes the
villages cf Hyannis, Osterville, Centerville, Cotuit, Marstons
Milis, Barnstable Village and West Barnstable. The Airport was
opened in 1928 and is the third largest and busiest airport in
Massachusetts. It has over 43 tenant businesses operating on
the property.

19. The BMAC is charged with operating and maintaining the
Airport, which has received and continues to receive federal
funds for various improvements and operations pursuant to 49
U.S.C. §§ 47101 et seq. (commonly referred to as the “Airport
and Airway Improvement Act”).

20. To receive such federal funding, the BMAC was required
to make, and has made, numerous written representations, known
as “grant assurances,” to the federal government. These grant
assurances include, but are not limited to, assurances that:
“the revenues generated by [the Airport] will be expended for
the capital or operating costs of the [A]lirport;” the BMAC will

not exercise or grant any right or privilege which prevents any
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person, firm or corporation operating any aircraft on the
Airport from performing any services on its own aircraft,
including but not limited to self-fueling of such aircraft; the
BMAC will not allow anyone the exclusive right at the Airport to
conduct any aeronautical services, including the sale of
aviation fuel; and the BMAC will make the opportunity to engage
in commercial aeronautical activities availabie to anyone
meeting reasonable minimum standards established by the BMAC.
The Federal Aviation Administration (the “FAA”) requires that
“fLo]nce the airport sponsor has established minimum standards,
it should apply them objectively and uniformly to all similarly
situated on-airport aeronautical activities and services.” FAA
Advisory Circular 150/5190-5.

21. In March 1988, the BMAC adopted the Minimum Standards,
entitled “Standards of Conduct For Persons and Businesses at the
Barnstable Municipal Airport,” which have never been revoked or
superseded by the BMAC. Among other things, these Minimum
Standards provide that a “[flixed base operator shall provide
all fuel services, including the sale and storage of &0-octane,
100-octane, and jet fuel.”

22, Notwithstanding these Minimum Standards, commencing in
approximately 2000, the BMAC and other defendants conceived and
implemented a scheme to fraudulently and unlawfully maintain a

monopoly on the sale of all jet fuel at the Airport by
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preventing FBOs from ever selling jet fuel at the Airport. In
August 2000, the BMAC drafted several pages of bogus standards
-- known as the Self-Service Standards -- purporting to “reserve
the exclusive right unto [the BMAC] to sell jet fuel on the
Barnstable Airport,” whether in connection with self-fueling or
otherwise. The Self-Service Standards are contrary to both FAA
regulations requiring an airport sponsor such as the BMAC to
permit self-fueling, including for jet fuel, and the Minimum
Standards, and do not supersede the Minimum Standards.

23. Instead of providing new Airport tenants with a copy
of the Minimum Standards -- as it should have done and as is
standard practice at airports throughout the United States --
the BMAC fraudulently disseminated to tenants the Self-Service
Standards as if these were the applicable rules and regulations
in effect at the Airport. Thus, FBOs at the Airport were not
aware of the existence of the Minimum Standards.

24. As a result of defendants’ fraudulent scheme, which
included concealing the Minimum Standards, no FBOs at the
Airport were self-fueling their own aircraft with jet fuel or
selling jet fuel to third parties. Rectrix also became a victim

of this scheme.
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B. Defendants Concealed The Existence

Of The Minimum Standards From Rectrix

fo Wrongfully Protect The BMAC’s Jet Fuel Monopoly

25. %In August 2002, the Town, acting through the BMAC, as
lessor, and RAI, as lessee, entered into the Rectrix Lease, a
long-term land lease for space at the Airport. The Rectrix
Lease was for 49,400 square feet and for 4 term of twenty years,
with options to renew for two successive ten-year periods.

26. Articie Four of the Rectrix Lease provided, in
pertinent part, that the “Lessee shali not conduct or permit to
be conducted on said premises .. aircraft refueling activities

specifically related to, and including resale of aviation or jet

fuels, all subject to 2{b) below” (emphasis supplied}. Section

2(b) of Article Four specifically grants Rectrix the right to
submit in writing to the BMAC its “desire to modify or expand

its scope of operation,” which “may be subject to negotiable
crates and charges, with agreed upon terms and conditions to be
executed by both parties on separate letters of agreement.”
Section 2{(b) thus expressly contemplates that Rectrix had the
right to seek to expand its operations, including to fuel its
own aircraft and to sell jet fuel to third parties.

27. Although Article Three of the Rectrix Lease provides
that the “Airport rules and regulations in effect at the time of

the signing of this lease are attached as Exhibit B,” the

Minimum Standards were not so attached. Instead, defendants

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sent RAI a copy of the Seif-Service Standards in the fall of
2002.

28. Effective January 1, 2003, with the BMAC’s consent,
Rectrix replaced RAI as lessee under the Rectrix Lease.

29. On March 24, 2003, in response to Reéectrix’s counsel’s
request for a full copy of the Rectrix Lease, the BMAC again
concealed the Minimum Standards by sending to Rectrix’s counsel
by mail a copy of the lease that again did not attach the
Minimum Standards. At various times, defendants Dunning,
Gilmore, Mosby and Sanchez falsely represented to Rectrix that
the Seif-Service Standards were the appropriate rules and
regulations in effect.

30. Moreover, defendant Mosby falsely told Rectrix’s
President, Richard A. Cawley (“Cawley”), and others at Rectrix
that under the Airport’s rules and regulations, Rectrix could
never pump jet fuel either for seif-fueling or for sale to third
parties.

31. In January 2004, Cawley telephoned defendant Mosby and
asked him for a copy of the entire Minimum Standards. In
response, on January 22, 2004, Cawley received a facsimile with
a coversheet that referenced the “BMA Standards” and stated: “I
hope that you will find this information helpful for your
research and please do not hesitate to cali our office with any

additional assistance you may require.”

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32. The facsimile contained only the Seif-Service
Standards -- two-pages entitled “Self-Service Standards” and
four pages entitled “Guidelines For Building, Alteration and
Improvement At The Barnstable Municipal Airport.”

33. Shortly after receiving this facsimile, Cawley called
defendant Mosby and asked him specifically if there were any
other standards at the Airport. Mosby falsely represented that
the standards contained in the facsimile were all of the BMAC
standards that existed.

34. On numerous occasions thereafter, Cawley spoke by
telephone with defendants Dunning, Mosby and Sanchez and
requested copies of the Airport's Minimum Standards. Each of
the defendants represented to Cawley on several occasions that
no such Minimum Standards existed.

35. In the spring of 2004, Cawley received unsolicited
calls from a person who claimed to work for the BMAC. The
person told Cawley that the Airport’s Manager, defendant Mosby,
and Assistant Manager, defendant Sanchez, were withholding from
Rectrix the Airport’s true rules and regulations -- the Minimum
Standards.

36. On or about June 21, 2004, Cawley contacted Horsley
Witten Group, Inc. (formerly Horsley & Witten, Inc.) (“Horsley
Witten”), Rectrix’s engineering consulting firm that had been

working on projects for the BMAC and also designing Rectrix’s

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hangar, among other things. Cawley asked Horsley Witten to send
him a copy of the standards that had been provided to them for
the work they were doing for the BMAC. At the time, Horsley
Witten was working on the Airport’s Master Plan, designing the
Airport’s new federally subsidized terminal, as well as working
on Rectrix’s new hangar and other projects for Rectrix. Cawley
received from Horsley Witten the same Self-Service Standards
that he had received previously.

37. Also in June 2004, Cawley telephoned defendant Sanchez
and asked if these were all of the standards that existed.
Sanchez told him during that telephone conversation -- for the
first time -- that there were additional standards. Cawley
requested a copy of the additional standards, but Sanchez did
not comply with this request.

38. Finally, on June 23, 2004, Cawley met with defendant
Sanchez at the Airport office. He advised Sanchez that he was
not going to leave without a copy of the real Minimum Standards.
Reluctantly, and in the sight of Cawley, Sanchez went to another
office and pulled out a document that contained the Minimum
Standards. Sanchez dropped them on the table and said in

substance: “There, are you happy now?”

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1. By Applying To Become An FBO And To Sell Jet Fuel
Rectrix Threatened The Airport’s Monopoly On
Jet Fuel Sales And The Revenue Diversion Scheme

39, After reviewing the true Minimum Standards in effect,
Rectrix determined that these standards would ailow Rectrix to
provide services as an FBO, including selling jet fuel. Rectrix
thereafter made the business decision to become a full-service
FBO and to provide aviation services at the Airport, including
the sale of jet fuel.

40, Cawley met with defendant Mosby to discuss Rectrix’s
plans. Defendant Mosby acknowledged that the Minimum Standards
provided FBOs the right to sell jet fuel -- both to self-fuel
and to seli jet fuel to third parties. Mosby encouraged Rectrix
initially to pursue only seli-fueling and discouraged Rectrix
from seeking to sell jet fuel to third parties. Rectrix began
the costly and time-consuming process of drawing up new plans
and business models. Between June and October of 2004, however,
as Rectrix attempted to pursue the expansion of its operations,
the BMAC and other defendants subjected Rectrix to a pattern of
runaround and delay, including inviting Cawley to BMAC Committee
meetings and then not allowing him to participate.

41. Finally, in October 2004, Rectrix delivered a letter
to defendant Mosby advising him that Rectrix “wishe[d] to expand
its scope of operation, thus becoming a Full Service Fixed Based

Operator (FBO) at the Barnstable Municipal Airport.” Rectrix

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warranted that it met or exceeded any and all financial
requirements of the FBO standards and that it had a “wery high
degree of integrity and professionalism, meeting and exceeding
your [the Airport’s] minimum standards.” Rectrix requested that
its application be put on the Airport’s next regularly scheduled
agenda. Mosby signed the letter and accepted Rectrix’s $100,000
“good faith deposit.” Two months later, on December 20, 2004,
defendant Mosby returned the “good faith deposit” check by
certified mail ina letter to Rectrix that was copied to
defendant Dunning.
c. Defendants’ Campaign Of Intimidation, Retaliation

And Discrimination Against Rectrix To Prevent

Rectrix From Selling Jet Fuel

42. Rectrix attempted toe demonstrate -- and guarantee --
that it would increase, not decrease, the Airport’s revenues
associated with the sale of jet fuel. The BMAC, however, never
fairly and honestly considered Rectrix’s request to begin
selling jet fuel. Instead, as set forth below, various
defendants deprived Rectrix of its right to their honest
services and intimidated, retaliated and discriminated against
Rectrix -- all to protect the Airport’s monopoly on the sale of
jet fuel, the revenues from which were being illegally diverted

for use by the Town.

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1. Commissioner Wheatley’s Efforts To Prevent Rectrix
From Selling Jet Fuel And Interfering With
The Revenue Diversion Scheme

43, On November 17, 2004, defendant Wheatley visited
Rectrix’s offices in Sarasota, Florida, and met with Cawley for
more than an hour. During this meeting, Wheatley admitted to
Cawley, in substance, that the Town was receiving approximately
$1 million per year from the Airport. When Cawley pointed out
to Wheatley that revenue diversion for non-Airport purposes was
illegal, Wheatley admitted that it was, but said, in substance,
that it would be bad for Rectrix to become known on the Cape as
the company that caused city workers to be laid off. While
Wheatley agreed that Rectrix ought to be able to self-fuel, he
advised Cawley that the BMAC would never allow Rectrix to pump
jet fuel.

44. Wheatley repeated some of these statements to Cawley
and an executive of RAI, again mentioning that Airport revenues
were being used to pay Town expenses. The RAI executive was
Surprised to hear this statement because he knew such activity
was illegal.

45. During a later telephone call, defendant Wheatley also
told Cawley in substance that the FAA looks the other way on
revenue diversion and that revenues from the Airport were going

to stay with the Town no matter what Rectrix did.

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2. Defendant Mosby Also Acknowledged The
Tllegal Diversion But Told Rectrix The
FAA Would Do Nothing About It

46. In conversations with Cawley, defendant Mosby admitted
to Cawley that he knew the Town was not supposed to be using
Airport funds for Town expenses but that there was not enough
money at issue to start an FAA investigation. Cawley also told
defendant Mosby that the FAA grant assurances would not allow
the diversion of revenue, and defendant Mosby told Cawley that
everybody looks the other way, including the FAA.

3. Commissioner Dunning Threatened Rectrix'’s President

47, On January 11, 2005, Cawley met with Dunning in an
attempt to resolve open issues surrounding Rectrix’s application
to become a fully operating FBO at the Airport. During the
conversation, Dunning told Cawley that Rectrix would never be
permitted to sell jet fuel at the Airport. When Cawley
explained that the BMAC’s unfair treatment of Rectrix would
leave Rectrix with no choice but to initiate litigation, Dunning
told Cawley in substance, “You better watch your back.” When
Cawley asked Dunning if he was threatening him, Dunning
responded in substance, “You bet I am.”

4. The BMAC And Commissioner Dunning Interfered With
Rectrix’s Contract For Engineering Services

48. In another attempt to wrongfully deter and delay
Rectrix’s efforts to sell jet fuel in competition with the BMAC,

certain defendants knowingly and intentionally interfered with

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Rectrix’s business relations with the engineering firm that
Rectrix was using to design its hangar and other facilities at
the Airport.

49, In early April 2005, Dunning contacted Horsley Witten
-~ the engineering consulting firm that had been working on
projects for Rectrix since 2002 as well as working on
engineering and permitting for the Airport’s new multi-million
dollar terminal and associated projects -- and told them that he
considered Horsley Witten’s work for Rectrix at the Airport to
constitute a conflict of interest. By facsimile dated April 14,
2005, on Dunning & Kirrane, L.L.P. letterhead, Dunning advised
the Senior Project Manager for Horsley Witten that the BMAC did
“not approve work {by Horsley Witten for Rectrix] in connection
with the setting and design of a fuel farm, nor would we approve
work on areas not presently under lease to Rectrix or
inconsistent with limitations imposed in the Rectrix lease,”
obviously referring to the limitation in the Rectrix lease on
fueling activities. Dunning also advised Horsley Witten that
the BMAC “has no objection to [Horsley Witten] performing other
engineering services at other ‘potential locations’ provided
that no work at the [Barnstable] Airport is included in [that]
definition.”

50. Horsley Witten thereafter informed Rectrix that they

could no longer continue to perform certain Airport work for

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Rectrix. As a result, Rectrix hired another engineering firm to
design the proposed fuel farm and incurred additional expenses
in the amount of approximately $20,000.

5. The BMAC And Defendants Dunning And Gilmore’s
Efforts To Prevent Rectrix From Fueling Aircraft

51. The BMAC and certain defendants, inciuding Dunning and
Gilmore, aiso took steps to prevent and delay Rectrix from self-
fueling, in addition to fueling other aircraft.

52. During the Spring and Summer of 2005, defendants
Dunning and Mosby told Cawley that if Rectrix had a fuel tank it
could selfi-fuel. However, defendants Dunning and Mosby knew
that at that time Rectrix did not own or nave access to a fuel
tank. On October 3, 2005, however, Rectrix signed an agreement
with another FBO at the Airport, Air Cape Cod, to lease one of
its tanks so that Rectrix could self-fuel and possibly fuel
other aircraft with jet-fuel.

53. Although the Rectrix hangar opened on September i,
2005, it was not until after months of meetings and calls with
the BMAC that Rectrix finally obtained permission to self~fuel
and fuel planes it leased or managed at a December 20, 2005 BMAC
meeting.

54. Specifically, the December 20 resolution provided that
Rectrix could enter into a self-fueling agreement such that for

“aircraft owned, leased under exclusive contract for 60 days or

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more, or managed under exclusive contract for 60 days or more;
Rectrix is entitled to self-fueling provided that it owns the
Air Cape Cod tank, and that said tank has been determined to be
of sound condition suitable for the task. Or alternatively,
Rectrix may elect to submit a plan to develop its own fuel tank

or

consistent with the Airport Master Plan...” (emphasis supplied).
Essentially, the BMAC gave Rectrix permission to fuel through an
existing storage tank of an Airport FBO (Air Cape Cod} or obtain
permission to set up a fuel farm. Regardless of which path
Rectrix chose, the BMAC made sure that it was blocked or
delayed.

55. Although Rectrix had the right to dispense jet fuel in
accordance with the BMAC’s December 20 resolution, the BMAC and
defendants purporting to act on its behalf would not allow
Rectrix to do so without first entering into an MOU. On January
19, 2006, Rectrix and the Airport entered into an MOU that
required Rectrix to purchase its jet fuel from the BMAC at a
price that was significantly higher than it would have cost
Rectrix to obtain jet fuel from another supplier. The MOU
expressly stated that Rectrix could not sell fuel te third
parties but that it could fuel aircraft it owned, as well as
those aircraft leased or “managed under exclusive contract” for

more than sixty days. The term of this MOU was 120 days. Other

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FBOs were not required to enter into an MOU to self-fuel or
dispense fuel to leased or managed aircraft.

a. The Fuel Tank Incident

56. The safest and most efficient way for Rectrix to self-
fuel and dispense fuel to leased or managed aircraft would have
been to lease one of Air Cape Cod’s fuel tanks, but the BMAC
would not allow this. Instead, it required Rectrix to purchase
the fuel tank from Air Cape Cod, which meant that Air Cape Cod
would have to lease to Rectrix the land on which the tank was
located.

57. At the December 20, 2005 BMAC meeting, defendant
Wheatley added language to the resolution requiring Rectrix to
purchase the tank from Air Cape Cod and to lease the ground
underneath the tank from the BMAC. No similar requirements were
placed on other Airport tenants who were using the tank of
another FBO, Griffin, to self-fuel propeller planes.

58. On January 2, 2006, Air Cape Cod responded to this
retaliation against itself and Rectrix by seeking relief from
the FAA. On March 15, 2006, the FAA ruled that the BMAC was
unjustly discriminating against Air Cape Cod in viciation of FAA
Sponsor Assurance No. 22.a, which states that an airport will be
made “available as an airport for public use on reasonable terms
and without unjust discrimination to all types, kinds and

classes of aeronautical activities, including commercial

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aeronautical activities offering services to the public at the
airport.” The FAA ultimately ruled that Air Cape Cod could not
be required to lease the Land on which the tank was located to
Rectrix or to sell the tank to Rectrix.

59. It was only as of May 8, 2006, after much unnecessary
time and expense, that Rectrix was finally able to reach an
agreement with the BMAC and Air Cape Cod to fuel through Air
Cape Cod’s fuel tank. Thus, Rectrix was forced to fuel at the
Airport’s higher prices from September 1, 2005 until May 8, 2006
and lost the profits it could have made from fueling aircraft it
managed.

b. The Fuel Farm

60, Rectrix did not fare any better with the other
alternative Dunning had proposed -- operating its own fuel farm.
Despite being told repeatedly by the BMAC that no additional
space existed at the Airport on which to place a fuel farm, the
BMAC required Rectrix to present detailed plans for the proposed
fuel farm, including potential locations.

61. The BMAC then responded by suggesting that there wouid
not be any space available that would meet environmental
requirements because of the Airport’s new terminal and fuel
farm. The BMAC suggested to Rectrix that it construct a fuel
farm within the confines of its leasehold, which would be

difficult and cumbersome at best because it would restrict other

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uses of Rectrix’s leasehold that Rectrix had spent hundreds of
thousands of dollars to obtain. Instead, Rectrix submitted
plans for proposed alternative locations for its fuel farm. The
BMAC refused to even rule on this request.

c. The Hangar

62. Defendant Dunning also deliberately planned to biock
Rectrix not only from any ability to sell jet fuel but aiso to
use its hangar. In or about the Spring of 2005, Dunning oversaw
plans for the BMAC to locate the Airport’s own fuel farm yards
away from Rectrix’s ramp, which would have created an obviously
dangerous situation for Rectrix’s planes because taxiing would
hamper the ingress and egress of Rectrix’s planes to its own
hangar. The proposed location for the Airport’s fuel farm would
have violated the Rectrix Lease, which expressly states that the
Airport may not interfere with Rectrix’s ability to use its
ramp.

63. Rectrix only learned about defendant Dunning’s plan
from another FBO at the Airport. Cawley, of course, asked the
BMAC to move the proposed location. Although it was quite
obvious that a fuel farm situated right outside of Rectrix’s
hangar would impede Rectrix’s ability to use its hangar in
violation of FAA regulations and the Rectrix Lease, the BMAC
required Rectrix to conduct an expensive survey to find

alternative locations for the fuel farm. It was only after

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Rectrix hired an engineering firm to demonstrate how the
proposed fuel farm site would impact Rectrix that the BMAC and
Dunning agreed to relocate the proposed site. Although Rectrix
offered alternatively to develop a fuel storage area in
conjunction with the Airport, this offer was refused. Rectrix
incurred over $30,000 in unnecessary expenses associated with
the BMAC’s proposed choice to locate the fuel farm in a place

that would have interfered with Rectrix’s ability to use its

ramp.

6. The BMAC’s Repeated Delays

64. The BMAC consistently has delayed approvals that
Rectrix needed. For example, Rectrix was delayed in obtaining

approval for lease amendments, requests for additional space for.
ramp access and other rights for anywhere from three to six
months. Almost every time Rectrix sought to expand its
operation or needed BMAC approval, the BMAC would not oniy delay
the approvals from meeting to meeting, it would create
additional requirements for Rectrix that were not imposed on
other Airport tenants or FBOs. For example, Dunning delayed
approval for ramp parking rights by calling for a pretextual
investigation into environmental and noise concerns associated
with use of the ramo. The BMAC, Dunning and Gilmore continue to
delay in hearing Rectrix’s request for additional space and

approval of its proposed fuel farm location.

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65. The delay of almost nine months from when Rectrix
opened its hangar until it could actually fuel aircraft it owns
er manages has resulted in Rectrix losing a substantial amount
of revenues from Bombardier Aerospace Corporation
(“Bombardier”), CitationShares Management LLC (“CitationShares”)
and other potential operators.

7. The BMAC’s Continued Discrimination And Retaliation

66. On October 20, 2005, Rectrix sent the FAA a Part 13
Letter Complaint setting forth the unfair treatment it received
at the hands of defendants. In a showing of good faith, and in
the hope that these issues couid be remedied in an amicable and
professional manner, Rectrix withdrew the complaint and entered
into negotiations with the BMAC. However, when the BMAC
continued its pattern of retaiiation against Rectrix and caused
further delays and expense, Rectrix had no choice but to file an
amended Part 13 Complaint, adding the issue of revenue diversion
and discussing the BMAC’s retaliatory conduct.

67. The BMAC has continued its retaliation against Rectrix
for, among other things, filing the Part 13 Complaint by taking
baseless actions that were not imposed on other tenants. For
example, on April 5, 2006, Rectrix received a letter from
Gilmore indicating that it was in default under the lease terms
for failing to pave certain areas. Two days later, Rectrix

responded with a letter indicating that the purported defaults

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were baseless given the impossibility of completing the work
during the winter season. The requirement for Rectrix to pave
these areas, like many other obligations imposed on Rectrix by
the BMAC, Dunning, Gilmore and Wheatiey, was not placed on other
FBOs or Airport tenants.

8. Defendants Make Good On Their Threats:
The BMAC Stops Rectrix From Fueling

68. After the January 19, 2006 MOU was executed, Rectrix
entered into management agreements with Bombardier and
CitationShares. Rectrix then began fueling aircraft that it
managed.

69, Of course, defendants the BMAC, Dunning, Gilmore and
Mosby would not give up their extremely valuable monopoly on the
sale of jet fuei. The BMAC would allow Rectrix to fuel only if
it met additional conditions: enter into a new MOU, make
certain payments in connection with the fueling (which Rectrix
was already doing) and allow the BMAC to review the management
agreements. Notwithstanding that Rectrix should not have had to
enter into an MOU, it complied with all of the BMAC’s requests
by entering into a new MOU on June 2, 2006 (while reserving its
right to argue that this requirement was discriminatory),
confirming that it made the requisite payments and allowing the

BMAC access to the management contracts subject to the BMAC’s

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agreement to keep the contracts confidential at the request of
the companies whose aircraft Rectrix was managing.

70. The June 2 MCU contained the same language as the
previous MOU: Rectrix had the right to fuel aircraft that were
“managed under exclusive contract.” The BMAC and defendants
Dunning, Gilmore and Mosby forced Rectrix to give up its right to
fuel third parties in return for a contractual right to fuel the
planes it owns, leases or manages.

71. Notwithstanding Rectrix’s clear right under the MOU to
fuel aircraft that it manages, as well as the BMAC’s December 20,
2005 resolution and applicable FAA regulations, on June 16, 2006
-- two weeks after the MOU was signed -- the BMAC, through Mosby,
informed Rectrix that Rectrix was not permitted to fuel aircraft
that it manages under the contracts with Bombardier and
CitationShares. The BMAC asserted that such fueling was
prohibited by FAA regulations and the December 20 resolution.

72. In addition, after Rectrix responded that the fueling
of managed aircraft was permitted by the BMAC’s ruling and the
MOU, as well as the FAA, Mosby informed Rectrix -- for the first
time -- that it was not entitled to fuel aircraft on ramps that
were not leased by Rectrix. Aithough other FBOs were able to
fuel on the common ramps and Rectrix was asked by the Airport
itself to provide other aviation services on these ramps, the

BMAC -- at the same time it refused to rule on Rectrix’s requests

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for additional ramp space -- claimed that Rectrix providing jet
fuel on common ramps presented a problem.

73. On June 21, defendant Gilmore sent a letter to
Rectrix’s counsel asserting that Rectrix could not fuel aircraft
that were not located on Rectrix’s ramp {regardless of whether
Rectrix managed such pianes) and if it did otherwise, it would be
in breach of its lease and subject to eviction. The next day,
Rectrix’s counsel responded to the letter indicating that
although the FAA allowed fueling of operated and managed aircraft
and that the MOU expressly authorized fueling of managed
aircraft, Rectrix would only fuel aircraft in the immediate
vicinity of its ramp, which appeared to be the only basis for the
threatened eviction. After that letter, Rectrix continued to
fuel its managed aircraft without any complaints from the BMAC
until June 30.

74. On June 30 -~ a full week after Rectrix responded to
Gilmore’s letter as well as the beginning of the Friday of the
July 4* weekend, one of the busiest weekends of the summer --
defendant Mosby delivered a letter informing Rectrix that it
could not fuel its managed aircraft because of a “verbal
confirmation” by the FAA that such fueling was not permitted.

75, After Rectrix’s counsel pointed out that they were not
aware of any such ruling nor could there be any basis for it,

Gilmore stated in a July 7 letter that Rectrix could only fuel

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aircraft that it owns, an entirely new limitation that completely
ignored the express terms of the BMAC’s December 20, 2005 ruling
and the dune 2 MOU, and that had no basis whatsoever in FAA
regulations. Gilmore then admitted to the defendants’ prior
threats and intention to keep the monopoly over jet fuel by
asserting that “[t]he Airport has informed your client time and
time again that it would not relinquish its exclusive right to
set [sic(sell)] jet fuel.” Rectrix immediately complied with
Gilmore’s directive and as of June 30 has ceased fueling any
aircraft other than planes it owns.

9. The BMAC’s Unfair Treatment Of Rectrix

Compared To The Treatment Of Other
Aviation Services Providers At The Airport

76. In addition to the retaliatory and disparate treatment
discussed above, other operators received far more beneficial
treatment from the BMAC in connection with the same on-airport
aeronautical activities and services that Rectrix was trying to
engage in, in violation of the BMAC’s obligation to treat
objectively, uniformly and fairly ali similarly situated
companies.

77. In August 2004, the BMAC allowed Floyd and Ronald
Silvia (the “Silvias”) to enter into lease terms far more
favorable than those given to Rectrix. The BMAC granted the
Siivias an 18-month rental abatement for airport hangar leases

that Rectrix never received. The BMAC did not require the

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Silvias to pay 3% of the revenues generated by their operations
at the Airport as Rectrix was required to pay, and it granted the
Silvias greater use of their facilities than Rectrix.

78. #$The BMAC also approved construction of two hangars by
the Silvias that did not comply with the Minimum Standards. The
Minimum Standards provide that if any “hangar or hangars are
constructed for the rental of space for aircraft storage, such
hangar or hangars shall be not less than 10,000 square feet in
floor area.” ‘The BMAC, however, approved two separate leases for
two purportedly separate Silvia entities each of which was for a
hangar of less than 10,000 square feet of gross floor area.

79. This was done apparently to avoid review by the
regional planning and regulatory agency, the Cape Cod Commission
(the “CCC”). Under the regulations of the CCC, any project
constructed on Cape Cod with a gross floor area over 10,000
square feet must be reviewed and approved. Under the anti-
segmentation ruies of the CCC, the two Silvia hangars should have
been considered as one project with a gross floor area of over
18,000 square feet. Among other things, they had identical lease
terms, common builders, common attorneys and were managed by two
brothers. Until Rectrix raised the issue of disparate treatment,
however, the Silvias were never required by the BMAC to obtain

ccCC review of these hangars.

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